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                                                                          FILED
                                                              United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                  Tenth Circuit

                                   FOR THE TENTH CIRCUIT                   February 4, 2016
                               _________________________________
                                                                         Elisabeth A. Shumaker
                                                                             Clerk of Court
  STATE OF OKLAHOMA, EX REL.
  JOHN DOAK, Insurance Commissioner, as
  Receiver for Park Avenue Property &
  Casualty Insurance Company and Imperial
  Casualty and Indemnity Company,

         Plaintiff - Appellant,

  v.                                                         No. 14-6202
                                                      (D.C. No. 5:12-CV-00409-C)
  STAFFING CONCEPTS                                          (W.D. Okla.)
  INTERNATIONAL, INC.,

         Defendant - Appellee.

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  ALABAMA INSURANCE GUARANTY
  ASSOCIATION; COLORADO
  INSURANCE GUARANTY
  ASSOCIATION; FLORIDA WORKERS
  COMPENSATION INSURANCE
  GUARANTY ASSOCIATION;
  GEORGIA INSURERS INSOLVENCY
  POOL; HAWAII INSURANCE
  GUARANTY ASSOCIATION; ILLINOIS
  INSURANCE GUARANTY
  ASSOCIATION; NORTH CAROLINA
  INSURANCE GUARANTY
  ASSOCIATION; OKLAHOMA
  PROPERTY & CASUALTY
  INSURANCE GUARANTY
  ASSOCIATION; SOUTH CAROLINA
  PROPERTY & CASUALTY
  INSURANCE GUARANTY
  ASSOCIATION; TENNESSEE
  INSURANCE GUARANTY
  ASSOCIATION; TEXAS PROPERTY &
           Case 5:12-cv-00409-C Document 160 Filed 02/04/16 Page 2 of 2
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  CASUALTY INSURANCE GUARANTY
  ASSOCIATION; WISCONSIN
  INSURANCE SECURITY FUNDS,

        Amici Curiae.
                           _________________________________

                                        ORDER
                           _________________________________

  Before KELLY, LUCERO, and PHILLIPS, Circuit Judges.
                    _________________________________

         The stipulation filed by the parties to dismiss the captioned appeal is granted.

  Each party shall bear its own costs.

         A copy of this order shall stand as and for the mandate of this court.


                                                Entered for the Court



                                                ELISABETH A. SHUMAKER, Clerk




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